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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



JOHN DOE,

                         Petitioner,

                         v.                                          No. 17-cv-2069 (TSC)

GEN. JAMES N. MATTIS,
 in his official capacity as SECRETARY OF
 DEFENSE,

                         Respondent.



                                                ORDER

             The court hereby adopts the schedule set forth in the Parties’ Proposed Briefing

     Schedule (ECF No. 53). The briefing schedule is as follows:

         1. By February 9, 2018, Petitioner will file a response to Respondent’s Factual Return

             (ECF Nos. 46, 49), challenging Respondent’s legal authority to detain Petitioner while

             assuming that all factual allegations about Petitioner in Respondent’s Factual Return

             are true.

         2. Respondent’s memorandum in opposition to Petitioner’s Motion to Unseal (ECF No.

             48) is due by February 12, 2018.

         3. Petitioner’s reply in support of his Motion to Unseal is due by February 22, 2018.

         The court notes that the parties have agreed to and propose the above schedule without

    prejudice to:

         (i) Respondent’s seeking leave, if necessary, to file a further response to Petitioner’s

             February 9 response to Respondent’s Factual Return; and


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     (ii) Petitioner’s filing a response to Respondent’s factual allegations about Petitioner in

        Respondent’s Factual Return at a date to be determined, should this matter not be

        resolved on Petitioner’s challenge to Respondent’s legal authority, as described in

        paragraph 1 above.


Date: January 29, 2018


                                             Tanya S. Chutkan
                                             TANYA S. CHUTKAN
                                             United States District Judge




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